     Case 3:23-cr-00061-DJH Document 20 Filed 08/08/23 Page 1 of 2 PageID #: 41




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

UNITED STATES OF AMERICA                                                               PLAINTIFF


v.                                               CRIMINAL ACTION NO. 3:23-CR-00061-DJH


MARKUS STILLWELL                                                                    DEFENDANT

                     UNOPPOSED MOTION FOR ENTRY OF PROTECTIVE
                           ORDER GOVERNING DISCOVERY
                                -- Electronically filed --

         Pursuant to Fed. R. Crim. P. 16(d), the United States of America, by Alicia P. Gomez,

 Assistant United States Attorney for the Western District of Kentucky, moves for the entry of a

 protective order, and in support thereof states as follows:

         1.     The indictment in this case charges the above-named defendant with conspiracy to

 possess with intent to distribute fentanyl, in violation of Title 21, United States Code, Sections 846

 and 841(a)(1), (b)(1)(A), and possession with intent to distribute fentanyl, in violation of Title 21,

 United States Code, Sections 841(a)(1) and 841(b)(1)(A), and Title 18, United States Code,

 Section 2.

         2.     The Defendant’s arrest in this case followed an investigation which included the

 use of sensitive investigative techniques, including the employment of sources to make controlled

 purchases of contraband, and the procurement of multiple search warrants. All of these

 transactions were memorialized using audio and video recording equipment. The investigators

 also prepared written reports regarding these recorded transactions. In accordance with its

 disclosure obligations under Fed. R. Crim. P. 16, the government intends to produce to defense

 counsel the recordings and to produce to defendant’s counsel copies of the supporting

 documentation to assist them in evaluating the case.

                                                   1
   Case 3:23-cr-00061-DJH Document 20 Filed 08/08/23 Page 2 of 2 PageID #: 42




        3.      The government requests this Court to direct that the release of any reports, and

 other materials that may be turned over in connection with this matter be subject to the conditions

 set forth in the proposed protective order. The need for a proposed protective order arises from the

 government’s important interest in ensuring the safety of witnesses in this case.

        WHEREFORE, the government respectfully moves this Court for an order directing that

 the supporting documentation, which is being provided to defendant’s counsel, be subject to a

 protective order as described above. The government also respectfully moves this Court to order

 that any other recordings, reports, and investigative materials that may subsequently be turned over

 in connection with this case be subject to the protective order. Undersigned counsel for the United

 States has conferred with defense counsel in this matter and is authorized to state that defense

 counsel has no objection to the protective order. For the reasons set forth above, the government

 respectfully requests that this Court enter the proposed protective order.

                                              Respectfully Submitted,

                                              MICHAEL A. BENNETT
                                              UNITED STATES ATTORNEY


                                              s/Alicia P. Gomez
                                              Assistant United States Attorney
                                              717 West Broadway
                                              Louisville, Kentucky 40202
                                              Tel - (502) 582-6326
                                              Fax- (502) 582-5097




                                  CERTIFICATE OF SERVICE

       On August 8, 2023, I electronically filed this document through the ECF system, which will
send a notice of electronic filing to counsel of record.

                                              s/Alicia P. Gomez
                                              Assistant United States Attorney
                                                  2
